Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 1 of 6 Page ID #:282



 1   THE HOLTZ FIRM
     Michael D. Holtz (Bar No. 149616)
 2   mholtz@theholtzfirm.com
     21650 Oxnard Street, Suite 500
 3   Woodland Hills, CA 91367-4911
 4   Telephone: (310) 464-1088
     Facsimile: (323) 206-5535
 5
     Attorneys for Defendant
 6   NICK CARTER
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9

10   BILL MEREWHUADER, CHRISTOPHER                       Case No. 2:22-cv-01108-SVW-MRW
     POLITE, and TIM VIANE, Individually and on
11   Behalf of All Other Similarly Situated,             Assigned to Hon. Stephen V. Wilson
12                 Plaintiffs,                          DEFENDANT NICK CARTER’S
13                                                      ANSWER AND AFFIRMATIVE
            v.                                          DEFENSES TO COMPLAINT
14   SAFEMOON, LLC, SAFEMOON US, LLC,
     SAFEMOON CONNECT, LLC, SAFEMOON
15   LTD, SAFEMOON PROTOCOL LTD,                         Complaint filed:   February 17, 2022
     SAFEMOON MEDIA GROUP LTD, BRADEN
16   JOHN KARONY, JACK HAINES-DAVIES,
     RYAN ARRIAGA, SHAUN WITRIOL,
17   HENRY “HANK” WYATT, JAKE PAUL,
     NICK CARTER, DeANDRE CORTEZ WAY,
18   BEN PHILLIPS, and MILES PARKS
     McCOLLUM,
19
                   Defendants.
20

21

22

23          Defendant NICK CARTER (“Defendant”) hereby submits his Answer to the Complaint

24   (“Complaint”) filed by Plaintiffs BILL MEREWHUADER, CHRISTOPHER POLITE, and TIM

25   VIANE, Individually and on Behalf of All Other Similarly Situated (“Plaintiffs”) as follows:

26          1.     Defendant admits the allegations in the first sentence in paragraph 22 of the

27   Complaint. Defendant denies the allegations in the second sentence in paragraph 22 of the

28   Complaint.
                                             1
         DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                             CASE NO. 2:22-cv-01108-SVW-MRW
Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 2 of 6 Page ID #:283



 1           2.     To the extent that the term “Promoter Defendants” as used in paragraphs 4, 49, 53,

 2   92, 115-fn. 85, 166, 172, 187, 192, 193, 202, 203 and 204 of the Complaint refers to Nick Carter,

 3   Defendant denies the allegations. To the extent that the term “Promoter Defendants” as used in

 4   paragraphs 4, 49, 53, 92, 115-fn. 85, 166, 172, 187, 192, 193, 202, 203 and 204 of the Complaint

 5   refers to persons other than Nick Carter, Defendant lacks sufficient information or belief to admit

 6   the allegations, and on that basis denies the allegations.

 7           3.     To the extent that the term “Promoter Defendants” as used in paragraph 50 of the

 8   Complaint refers to Nick Carter, Defendant admits the allegations. To the extent that the term

 9   “Promoter Defendants” as used in paragraph 50 of the Complaint refers to persons other than Nick

10   Carter, Defendant lacks sufficient information or belief to admit the allegations, and on that basis

11   denies the allegations.

12           4.     Defendant admits the allegations in paragraph 83 of the Complaint that he posted a

13   video on Twitter of a rocket heading to the moon with a picture of his face in the window with the

14   caption: “It’s time for blastoff #SAFEMOON.” Defendant denies the remaining allegations in

15   paragraph 83 of the Complaint.

16           5.     Except as expressly admitted or denied herein, Defendant lacks sufficient information

17   or belief to admit the remaining allegations in the Complaint, and on that basis denies the allegations.

18

19           FURTHER, AS SEPARATE AFFIRMATIVE DEFENSES to each cause of action in the

20   Complaint, Defendant is informed and believes, and on such information and belief, alleges as

21   follows:

22                                   FIRST AFFIRMATIVE DEFENSE

23                                   (Failure to State a Cause of Action)

24           1.     Plaintiffs have failed to state a cause of action upon which relief may be granted

25   against Defendant.

26   ///

27   ///

28
                                               2
           DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                               CASE NO. 2:22-cv-01108-SVW-MRW
Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 3 of 6 Page ID #:284



 1                                SECOND AFFIRMATIVE DEFENSE

 2                                         (Non-Willful Violation)

 3          2.      Defendant is not liable in whole or in part to Plaintiffs because Defendant’s alleged

 4   acts were non-willful.

 5                                      THIRD AFFIRMATIVE DEFENSE

 6                                                    (Estoppel)

 7          3.      Plaintiffs have engaged in certain conduct as a result of which Plaintiffs are barred,

 8   in whole or in part, from obtaining the relief sought in the Complaint or pursuing a recovery from

 9   Defendant based on the doctrine of estoppel.

10                                    FOURTH AFFIRMATIVE DEFENSE

11                                                     (Laches)

12          4.      Plaintiffs are barred in whole or in part from obtaining the requested relief sought in

13   the Complaint or pursuing a recovery from Defendant based on the doctrine of laches.

14                                  FIFTH AFFIRMATIVE DEFENSE

15                                                  (Waiver)

16          5.      Plaintiffs have waived all or part of any right to obtain the relief they seek.

17                                  SIXTH AFFIRMATIVE DEFENSE

18                                           (Lack of Causation)

19          6.      Defendant is not liable for any purported damages alleged in the Complaint for the

20   reason that any such damages are not the direct or proximate result of any act or omission of

21   Defendant.

22                                SEVENTH AFFIRMATIVE DEFENSE

23                                               (Good Faith)

24          7.      Plaintiffs’ claims for relief are barred in whole or in part because any conduct

25   allegedly engaged in by Defendant was undertaken in good faith and/or with good cause.

26

27

28
                                             3
         DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                             CASE NO. 2:22-cv-01108-SVW-MRW
Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 4 of 6 Page ID #:285



 1                                 EIGHTH AFFIRMATIVE DEFENSE

 2                                             (Mistake of Fact)

 3           8.     Plaintiffs’ claims for relief are barred in whole or in part due to a full or partial

 4   mistake of fact.

 5                                  NINTH AFFIRMATIVE DEFENSE

 6                                               (No Damages)

 7           9.     Plaintiffs have suffered no damages by virtue of any acts, omissions, events or

 8   occurrences stated in its Complaint, whether or not attributable to Defendant.

 9                                  TENTH AFFIRMATIVE DEFENSE

10                                           (Failure to Mitigate)

11           10.    Assuming, without admitting, that Plaintiffs have suffered any injury or damage,

12   Plaintiffs failed to take reasonable steps to avoid injury or to mitigate any damages allegedly suffered

13   as a result of any acts or omissions of Defendant.

14                               ELEVENTH AFFIRMATIVE DEFENSE

15                                         (Statute of Limitations)

16           11.    Plaintiffs’ alleged claims are barred by the applicable statute(s) of limitation.

17                                TWELFTH AFFIRMATIVE DEFENSE

18                                         (No Statutory Damage)

19           12.    Plaintiffs are not entitled to recover statutory damages because Defendant’s alleged

20   actions were not willful, intentional or malicious.

21                             ADDITIONAL AFFIRMATIVE DEFENSES

22           13.    Defendant presently has insufficient knowledge or information on which to form a

23   belief as to whether he may have additional, as yet unstated, affirmative defenses. Defendant

24   therefore expressly and specifically reserves the right to amend this Answer to add, delete and/or

25   modify affirmative defenses based on legal theories, facts and circumstances which may be or will

26   be divulged through discovery and/or through legal analysis of Defendant in this litigation.

27   ///

28
                                               4
           DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                               CASE NO. 2:22-cv-01108-SVW-MRW
Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 5 of 6 Page ID #:286



 1         WHEREFORE, Defendant Nick Carter prays for judgment as follows:

 2         (1)    For Plaintiffs to obtain no relief by way of the Complaint against Defendant;

 3         (2)    For Plaintiffs’ Complaint to be dismissed in its entirety with prejudice;

 4         (3)    For attorney’s fees and costs of suit if and as permitted by law; and

 5         (4)    For such other and further relief as the Court deems just and proper.

 6

 7   Dated: May 13, 2022                        THE HOLTZ FIRM
                                                 Michael D. Holtz
 8

 9
                                                By:                             __
10                                              Attorneys for Defendant
                                                NICK CARTER
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            5
        DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                            CASE NO. 2:22-cv-01108-SVW-MRW
Case 2:22-cv-01108-SVW-MRW Document 47 Filed 05/13/22 Page 6 of 6 Page ID #:287


                                            PROOF OF SERVICE
 1

 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3          I am employed in the County of Los Angeles, State of California. I am over the age of 18
     and not a party to the within action. My business address is 21650 Oxnard Street, Suite 500,
 4   Woodland Hills, CA 91367-4911.
 5
            On the date stated below, I served true copies of the foregoing document(s) described as:
 6
           DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO
 7                                 COMPLAINT
 8
     on the interested parties in this action by placing: [X] a true and correct copy -OR- [ ] the
 9   original document thereof enclosed in sealed envelopes addressed as follows:

10
     John T. Jasnoch, Esq.                                 Attorneys for Plaintiffs and Proposed Class
11   SCOTT+SCOTT ATTORNEYS AT LAW LLP
12   600 W. Broadway, Suite 3300
     San Diego, CA 92101
13   Tel: (619) 233-4565
     Email: jjasnoch@scott-scott.com
14

15   [ ]     BY MAIL: I am readily familiar with the firm's practice of collection and processing
16   correspondence for mailing. Under that practice it would be deposited with U.S. postal service on
     that same day with postage thereon fully prepaid at Los Angeles, California in the ordinary course
17   of business. I am aware that on motion of the party served, service is presumed invalid if postal
     cancellation date or postage meter date is more than one day after date of deposit for mailing in
18   affidavit.
19   [X]    BY ELECTRONIC SERVICE: I transmitted the foregoing document by electronic mail to
20   the e-mail address listed above per agreement in accordance with Code of Civil Procedures section
     1010.6. The transmission was complete and no error was reported.
21
             I declare under penalty of perjury under the laws of the State of California that the above is
22   true and correct. Executed on May 13, 2022 at Woodland Hills, California.
23

24                                                                                    __
                                                                   Michael Holtz
25

26

27

28
                                             6
         DEFENDANT NICK CARTER’S ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                             CASE NO. 2:22-cv-01108-SVW-MRW
